          Case 4:11-cr-40037-SOH                      Document 1660         Filed 11/25/15                   Page 1 of 4 PageID #:
AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations 5380
              Sheet 1



                                      UNITED STATES DISTRICT COURT
                                                       Western District of Arkansas
          UNITED STATES OF AMERICA                                          Judgment in a Criminal Case
                     v.                                                     (For Revocation of Probation or Supervised Release)


              RANDY CORNELIUS                                               Case No.          4:11CR40037-048
                                                                            USM No.           10721-010
                                                                                         Travis Morrissey
                                                                                                       Defendant’s Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)            listed below                    of the term of supervision.

G   was found in violation of condition(s) count(s)                                      after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number              Nature of Violation                                                                    Violation Ended

                              Mandatory Condition: Unlawful Use of Controlled Substances (Marijuana,
          1                   multiple occurrences)                                                                  10/16/2015

          4                   Standard Condition: Failure to notify PO of contact with Law Enforcement               10/16/2015




X      The defendant is sentenced as provided in pages 2 through                 4       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
X   The defendant has not violated condition(s)            Viol #2 and #3       and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                      November 20, 2015
                                                                                                  Date of Imposition of Judgment

                                                                                                      /s/ Susan O. Hickey
                                                                                                         Signature of Judge

                                                                                     Honorable Susan O. Hickey, United States District Judge
                                                                                                   Name and Title of Judge
                                                                                                  November 25, 2015
                                                                                                                  Date
        Case 4:11-cr-40037-SOH                         Document 1660        Filed 11/25/15       Page 2 of 4 PageID #:
AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations 5381
              Sheet 2— Imprisonment

                                                                                               Judgment — Page   2       of   4
DEFENDANT:                   RANDY CORNELIUS
CASE NUMBER:                 4:11CR40037-048

                                                           IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of :                   Six (6) Months .




     X The court makes the following recommendations to the Bureau of Prisons:
       Placement at FCI - Texarkana.




     X The defendant is remanded to the custody of the United States Marshal.

     G The defendant shall surrender to the United States Marshal for this district:
          G    at                              G a.m.       G p.m.         on                                        .
          G    as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G    before 2 p.m. on                                       .
          G    as notified by the United States Marshal.
          G    as notified by the Probation or Pretrial Services Office.

                                                                RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                    to

at                                               with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                      By
                                                                                         DEPUTY UNITED STATES MARSHAL
        Case 4:11-cr-40037-SOH                       Document 1660        Filed 11/25/15                   Page 3 of 4 PageID #:
AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations 5382
            Sheet 3 — Supervised Release
                                                                                                          Judgment—Page        3      of   4
DEFENDANT:                 RANDY CORNELIUS
CASE NUMBER:               4:11CR40037-048
                                                          SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :                Three (3) Years




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.
G     The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
X     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      or is a student, as directed by the probation officer. (Check, if applicable.)
G     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant’s criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant’s compliance with such notification requirement.
      Case 4:11-cr-40037-SOH                            Document 1660        Filed 11/25/15   Page 4 of 4 PageID #:
AO 245D        (Rev. 09/11) Judgment in a Criminal Case for Revocations 5383
               Sheet 3C — Supervised Release
                                                                                              Judgment—Page   4   of    4
DEFENDANT:                   RANDY CORNELIUS
CASE NUMBER:                 4:11CR40037-048

                                               SPECIAL CONDITIONS OF SUPERVISION



          1.          The defendant shall submit to a search of his person, property; real or personal, residence, place of
                      business or employment, and / or vehicle(s) at the request of the United States Probation Office at a
                      reasonable time and in a reasonable manner based upon reasonable suspicion of evidence of violation
                      of any condition of supervised release. Failure to submit to a search may be grounds for revocation.
          2.          The defendant shall comply with any referral deemed appropriate by the Probation Officer for
                      in-patient or out-patient evaluation, treatment, counseling, or testing for substance abuse.
          3.          The defendant shall comply with any referral deemed appropriate by the Probation Officer for
                      in-patient or out-patient mental health evaluation, treatment, or counseling.
